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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 SHADA AIMADEDDINE,                      :
                                         :            20cv3532 (DLC)
                          Plaintiff,     :
                                         :                 ORDER
                -v-                      :
                                         :
 COS BAR RETAIL LLC and DUSTIN LUJAN,    :
                                         :
                          Defendants.    :
                                         :
 --------------------------------------- X


DENISE COTE, District Judge:

     On September 18, 2020, after receiving notification that

this matter had settled, this Court issued an Order

discontinuing this action.     On October 15, the parties requested

to extend the October 18 deadline to December 4.         On October 16,

the Court denied the parties’ request and restored the case to

the Court’s docket.    On October 19, the parties renewed their

request for an extension.     It is hereby

     ORDERED that the parties may file a stipulation of

dismissal by Thursday, October 22, 2020.       In the event they do

so, the defendants need not file an answer and the parties need

not attend the October 23 conference.        In the event no such
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dismissal is filed by October 22, the answer is due Friday,

October 23 and the October 23 conference will proceed as

scheduled.

Dated:       New York, New York
             October 20, 2020


                                    __________________________________
                                               DENISE COTE
                                       United States District Judge




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